                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,

                        Plaintiff,                      CIVIL ACTION NO. 1:23-cv-17036

        v.                                              Judge: Hon. Sara L. Ellis

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO

                        Defendants.


                     DEFENDANTS’ OPPOSED MOTION TO DISMISS
                          OR, ALTERNATIVELY, TO SEVER


       Defendants1 hereby move this Court to dismiss Plaintiff’s Complaint and/or sever for the

following reasons:

       1.      Plaintiff’s claims against Defendant Nos. 21, 22, 23, 25, and 26 should be dismissed

for lack of personal jurisdiction.

       2.      Plaintiff’s claims against Defendant Nos. 3, 9, 10, 13–19, 22, 23, 25, and 26 should

be dismissed on the grounds of improper service of process.

       3.      Plaintiff’s claims against all Defendants should be dismissed for failure to state a

claim because Plaintiff has failed to allege facts sufficient to establish ownership of its copyright.



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 This motion is by Defendant Nos. 3, 4, 9, 10, 13-19, 21-23, 25, and 26 listed on Schedule A of the
Complaint.
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       4.     Plaintiff’s claims against all Defendants for exemplary damages should be

dismissed or stricken because such damages are not permitted under the Copyright Act.

       5.     Plaintiff’s claims against all Defendants for enhanced statutory damages should be

dismissed because the Complaint fails to adequately plead facts necessary to support that form of

damages.

       6.     Plaintiff’s claims against all Defendants should be severed into separate actions due

to improper joinder, or, at a minimum, Plaintiff should have to show cause why the Defendants

may be joined under Fed. R. Civ. P. 20.

       In support of its motion, Defendants submit the accompanying brief.

                                 Local Rule 37.2 Certification

       On February 14, 2024, counsel for the parties met and conferred and counsel for Plaintiff

opposes this motion.




Dated: February 15, 2024                         Respectfully Submitted,

                                                    /s/____Christopher J. Fahy_________




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